Olf§% CaSe 2:05-cV-02354-.]DB-tmp Document 11 Filed 05/31/05 PagelofB Page|D 11

IN THE UNITED STATES DISTRICT COURT tu.-.~u `i.- .
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION
PHEBIE HARRINGT()N,
Plaintiff,
vs.
MERCK & CO., INC.; SARAH C. Case No.: 2:05-cv-02354-JDB-tmp

CAPOCACCIA; STEPHANIE B. ISON;
PATRICIA BLASINGAME; .]ENNIFER
PACE; CRAIG BRELAND and EDWYNA
R. BONNER,

 

MOT|ON GFIANTED
Def`endants

 

 

DATE

UNOPPOSED MOTION TO MODIFY STA Y

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The Plaintiff, Phebie Harrington, files this Motion to Modify Stay and Would respectfully

show the following:

On April 18, 2005, Plaintiff filed her Complaint for Personal Injuries against Merck &

Co., lnc. (Merck) and other parties in the Circuit Court for Shelby County in Memphis,
Tennessee. On May ll, 2005, Defendant Merck filed a Notice of Removal removing this
litigation to this court. Also on May l l, 2005, Defendant Merck filed a Mot.ion to Stay All

Proceedings Pending Transfer Decision by the Judicial Panel on Multidjstrict Litigation.

.Plaintiff’s Motion to Remand responsive to Defendant’s removal is due by June 10, 2005.

Nonetheless, on May ]3, 2005 and on May 1'/', 2005, this court issued orders granting Merck’s

Motion to Stay pending the transfer decision from the ]udicial Panel on Multidistrict Litigation.

UNOPPOSEI) MoTIoN To MoDlFY STAY

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Plaintiff therefore files this motion requesting that the stay be modified solely for the

purpose of allowing her to file her Motion to Rernand.

Plaintiff has confeired With Defendant Merek, who has consented and has agreed not to

oppose this motion.

Plaintiff understands that as a result of previous orders, her l\/Iotion for Remand will be

considered by the Multidistrict Litigation Couit for No. 1657, Vioxx Litigation,

Plaintiff therefore requests this court to modify its Order Granting Stay and its Order

Granting l\/Iotion by Defendant Merck & Co., Inc. To Stay All Proceedings for the sole purpose of

allowing Plaintiff to file her Motion to Remand.

UNOPPOSED MOT]ON TO MOI)IFY S'I`AY

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CERTIFICATE OP SERVICE
The undersigned hereby certifies that he is attorney of record for Plaintiff and has served a

true and correct copy of the foregoing pleading by United States Mail, postage paid7 to counsel of

record listed below.

This theyz§(- day of ,2005.

JACKS LAW FlRM

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Attorneys for Defendant Merck & Co., Inc.
and Defendant Sales Representatives

 

Charles C. Harrell

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 11 in
case 2:05-CV-02354 Was distributed by faX, mail, or direct printing on
May 31, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

